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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF LOUISIANA

                                                   §
       IN RE:                                      §      CASE NO: 23-11868
                                                   §
       TRIMONT ENERGY (NOW), LLC, 1                §      CHAPTER 11 SubChapter V
                                                   §
       DEBTOR.                                     §      SECTION A
                                                   §
                                                   §
       IN RE:                                      §      CASE NO: 23-11869
                                                   §
       TRIMONT ENERGY (GIB), LLC,                  §      CHAPTER 11 SubChapter V
                                                   §
       DEBTOR.                                     §      SECTION A
                                                   §
                                                   §
       IN RE:                                      §      CASE NO: 23-11872
                                                   §
       TRIMONT ENERGY LIMITED, INC.,               §      CHAPTER 11
                                                   §
       DEBTOR.                                     §      SECTION A
                                                   §
                                                   §
       IN RE:                                      §      CASE NO: 23-11873
                                                   §
       WHITNEY OIL & GAS, LLC,                     §      CHAPTER 11
                                                   §
       DEBTOR.                                     §      SECTION A
                                                   §

                  FOURTH INTERIM ORDER (I) AUTHORIZING USE OF CASH
                 COLLATERAL; (II) GRANTING ADEQUATE PROTECTION; (III)
                MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING A FIFTH
                  INTERIM HEARING; AND (V) GRANTING RELATED RELIEF

           The Court held a hearing on January 16, 2024, to consider the Emergency Motion for Entry

   of Order Pursuant to Sections 361 and 363 of the Bankruptcy Code and Bankruptcy Rule 4001 for




   1
           Trimont Energy (NOW), LLC (Case No. 23-11868); Trimont Energy (GIB), LLC (Case No. 23-
   11869); Trimont Energy Limited, Inc. (Case No. 23-11872); and Whitney Oil & Gas, LLC (Case No. 23-
   11873) have moved for joint noticing procedures.
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   Interim and Final Orders: (1) Authorizing Use of Cash Collateral; (2) Granting Adequate

   Protection; (3) Scheduling and Approving the Form and Method of Notice for a Final Order; and

   (4) for Related Relief (the “Motion”) 2, [Case No. 23-11868, ECF Doc. 16; Case No. 23-11869,

   ECF Doc. 16; Case No. 23-11872, ECF Doc. 15; Case No. 23-11873, ECF Doc. 15], filed by

   Trimont Energy (NOW), LLC (“NOW”), Trimont Energy (GIB), LLC (“GIB”), Trimont Energy

   Limited, Inc. (“TEL”), and Whitney Oil & Gas, LLC (“Whitney”), as debtors and debtors-in-

   possession (collectively, the “Debtors”), moving pursuant to sections 105, 361, 362, 363, and 507

   of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 3001, 4001, 6004, and

   9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the local rules

   of the United States Bankruptcy Court for the Eastern District of Louisiana (the “Bankruptcy Local

   Rules”) for entry of a fourth interim order (this “Fourth Interim Order”), among other things:

                  (i)     Authorizing Whitney, NOW, and GIB (collectively, the “Cash Collateral
           Debtors”) to use cash collateral, as such term is defined in section 363(a) of the Bankruptcy
           Code (“Cash Collateral”), of STUSCO and the LOWLA Lienholders (both as defined
           below), on an interim basis and solely in accordance with the terms of this Fourth Interim
           Order;

                   (ii)    Granting adequate protection to STUSCO and the LOWLA Lienholders,
           pursuant to sections 361 and 363 of the Bankruptcy Code, for any diminution in the value
           of their respective interests in the Prepetition Collateral (defined below) resulting from the
           Cash Collateral Debtors’ use of the Cash Collateral;

                  (iii) Modifying the automatic stay imposed by section 362 of the Bankruptcy
           Code to the extent necessary to permit the Cash Collateral Debtors, STUSCO, and the
           LOWLA Lienholders to implement and effectuate the terms and provisions of the Interim
           Order [Case No. 23-11868, ECF Doc. 37; Case No. 23-11869, ECF Doc. 36; Case No. 23-
           11872, ECF Doc. 33; Case No. 23-11873, ECF Doc. 34] (the “First Interim Order”), the
           Second Interim Order [Case No. 23-11868, ECF Doc. 105; Case No. 23-11869, ECF Doc.
           93; Case No. 23-11872, ECF Doc. 87; Case No. 23-11873, ECF Doc. 104 (the “Second
           Interim Order”), the Third Interim Order [Case No. 23-11868, ECF Doc. 129; Case No.
           23-11869, ECF Doc. 114; Case No. 23-11872, ECF Doc. 108; Case No. 23-11873, ECF
           Doc. 128 (the “Third Interim Order”), and this Fourth Interim Order; and


   2
          Except as otherwise noted, capitalized terms used by not otherwise defined herein shall have the
   meanings ascribed to them in the Motion.
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                   (iv)    Granting related relief.

           The Court having reviewed the Motion and the Declaration of Christopher O. Ryals in

   Support of First Day Motions, [Case No. 23-11868, ECF Doc. 15; Case No. 23-11869, ECF Doc.

   15; Case No. 23-11872, ECF Doc. 14; Case No. 23-11873, ECF Doc. 14] (the “Ryals Declaration”)

   filed contemporaneously with the Motion, and the evidence submitted or adduced and the

   arguments of counsel made at the hearing held on October 31, 2023 (the “First Interim Hearing”),

   the hearing held on November 16, 2023 (the “Second Interim Hearing”), the hearing held on

   December 21, 2023 (the “Third Interim Hearing”), the hearing held on January 16, 2024 (the

   “Fourth Interim Hearing”), and together with the First Interim Hearing, the Second Interim

   Hearing, and the Third Interim Hearing, the “Interim Hearings”); and the Court having jurisdiction

   over this matter pursuant to 28 U.S.C. § 1334(b); and the Court having found that this matter is a

   core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the Debtors consent to entry of a final

   order under Article III of the United States Constitution; and the Court having found that venue of

   this proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

   and the Court having determined that the relief requested in the Motion is in the best interests of

   the Debtors, the estates, the creditors, and other parties in interest; and it appearing that proper and

   adequate notice of the Motion has been given under the circumstances, and that no other or further

   notice is necessary; and upon the record herein; and after due deliberation thereon; and good and

   sufficient cause appearing therefor:




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       THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
   CONCLUSIONS OF LAW: 3

           A.      Petition Dates. On October 25 and 26, 2023 (the “Petition Dates”), each of the

   Debtors filed a voluntary petition under chapter 11 of the Bankruptcy Code in the United States

   Bankruptcy Court for the Eastern District of Louisiana (collectively, the “Chapter 11 Cases”).

           B.      Jurisdiction and Venue. This Court has jurisdiction, pursuant to 28 U.S.C. § 1334,

   over these proceedings and over the persons and property affected hereby. Venue for the Chapter

   11 Cases is proper in this district pursuant to 28 U.S.C. § 1408. This is a core proceeding pursuant

   to 28 U.S.C. § 157(b).

           C.      Cash Collateral Debtors’ Stipulations. Subject to paragraph 15 of this Second

   Interim Order, the Cash Collateral Debtors admit, stipulate, and agree that (collectively, the

   “Stipulations”):

                   1.      On December 16, 2021, debtors Whitney Oil & Gas, LLC and Trimont
           Energy (GIB), LLC, along with non-debtor DP Louisiana, LLC (collectively, the
           “Borrowers”), as borrowers, and debtor Trimont Energy Limited, Inc. and non-debtor DP
           Gulf Coast, LLC (together, the “Guarantors,” and together with the Borrowers, the “Loan
           Parties”), as guarantors, entered into that certain Multiple Draw Term Loan Agreement
           (the “Loan Agreement”), as amended from time to time thereafter (together with all
           agreements, documents, and instruments executed in connection therewith or in
           furtherance thereof, the “Loan Documents”), 4 with Shell Trading (US) Company, as
           administrative agent (the “Administrative Agent”), and certain lenders party thereto (the
           “Secured Lenders,” and together with the Administrative Agent, “STUSCO”). The Loan
           Documents evidence and govern the Obligations of the Loan Parties for principal, accrued
           and unpaid interest, fees, costs, expenses and all other amounts arising under the Loan
           Documents. All payments on account of Obligations received by STUSCO prior to the
           filing of these Chapter 11 Cases were duly authorized by the Cash Collateral Debtors and



   3
           The Court makes these findings of fact and conclusions of law pursuant to Federal Rules of
   Bankruptcy Procedure 7052 and 9014. To the extent that any of the following findings of fact are
   determined to be conclusions of law, they are adopted and shall be construed and deemed conclusions of
   law. To the extent any of the following conclusions of law are determined to be findings of fact, they are
   adopted and shall be construed and deemed as findings of fact.
   4
           Capitalized terms used in this Section C of this Interim Order but not otherwise defined herein
   shall have the meanings ascribed to them in the applicable Loan Documents.
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         were properly applied by STUSCO to the Loans and any outstanding Obligations
         thereunder.

                2.     Pursuant to the Loan Documents, as of the Petition Dates, the Borrowers
         were indebted to STUSCO in the amount of not less than $2,286,095 in principal, plus all
         accrued and unpaid interest, fees, expenses and other amounts owing under the terms of
         the Loan Documents and applicable law (collectively, the “Prepetition Indebtedness”).

                 3.      Pursuant to the Loan Documents and applicable law, the Borrowers’
         Prepetition Indebtedness is secured by liens on and security interests in (the “Prepetition
         Liens”) all of the Loan Parties’ right, title, and interest in and to (a) substantially all of the
         real and personal property assets of the Loan Parties and (b) the equity interests of the
         Borrowers held by the Guarantors (collectively, the “Prepetition Collateral”).

                4.     Each of the Loan Documents is valid, binding, and, subject to applicable
         bankruptcy laws, enforceable against the Cash Collateral Debtors in accordance with its
         terms. The Cash Collateral Debtors are indebted and liable to STUSCO for the Prepetition
         Indebtedness without defense, counterclaim, or offset of any kind.

                 5.     The Prepetition Liens are valid, binding, enforceable, non-avoidable,
         properly perfected, first-priority liens on and security interests in the Prepetition Collateral,
         and are not subject to avoidance, re-characterization, disallowance, disgorgement, recovery
         or subordination under the Bankruptcy Code or applicable non-bankruptcy law.

                  6.      The Cash Collateral Debtors and their estates do not have any claims,
         objections, challenges, and/or causes of action, including without limitation, avoidance
         claims under chapter 5 of the Bankruptcy Code, against STUSCO or any of its respective
         affiliates, agents, attorneys, advisors, professionals, officers, managers, members, directors
         and employees arising out of, based upon or related to the Loans. The Cash Collateral
         Debtors will not challenge or seek to avoid the validity, enforceability, priority, or
         perfection of the Prepetition Indebtedness or the Prepetition Liens.

                 7.      The filing of the Chapter 11 as well as the failure of the Borrowers to deliver
         financials are events of default under the Loan Documents.

                 8.      In making the Cash Collateral Debtors’ decision to permit the use of Cash
         Collateral or in taking any other actions related to this Second Interim Order, STUSCO (i)
         shall have no liability to any third party and shall not be deemed to be in control of the
         operations of the Cash Collateral Debtors or to be acting as a “controlling person,”
         “responsible person” or “owner or operator” with respect to the operation or management
         of the Cash Collateral Debtors (as such term, or any similar terms, are used in the Internal
         Revenue Code, the United States Comprehensive Environmental Response, Compensation
         and Liability Act, as amended, or any similar Federal or state statute), and (ii) shall not
         owe any fiduciary duty to the Cash Collateral Debtors, their estates, or their creditors. The
         Cash Collateral Debtors further acknowledge, stipulate, and agree that STUSCO’s
         relationship with the Cash Collateral Debtors shall not constitute or be deemed to constitute
         a joint venture or partnership with the Cash Collateral Debtors.

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                 9.      Certain entities, including but not limited to those listed on Exhibit B
          attached hereto (collectively, the “LOWLA Lienholders”) may possess oil and gas liens
          under the Louisiana Oil Well Lien Act (“LOWLA”) against certain of the oil and gas assets
          owned by the Cash Collateral Debtors.

          D.      Adequate Protection. STUSCO and the LOWLA Lienholders are entitled to

   receive adequate protection only in respect of any diminution in the value of their interest in the

   Prepetition Collateral resulting from the (a) use of the Cash Collateral, (b) use, sale, depreciation

   or other diminution in value of the Prepetition Collateral, or (c) imposition of the automatic stay

   under section 362(a) of the Bankruptcy Code (the amount of any such diminution being referred

   to hereinafter as the “Adequate Protection Obligations”). Pursuant to sections 361, 363, and

   507(b), as adequate protection for the Adequate Protection Obligations, the Cash Collateral

   Debtors have agreed to provide STUSCO and the LOWLA Lienholders with: (i) the Adequate

   Protection Liens (defined below); (ii) the Adequate Protection Superpriority Claim (defined

   below); and (iii) the Additional Adequate Protection (defined below). STUSCO objects to the use

   by the Cash Collateral Debtors of the Cash Collateral, except on the terms and conditions set forth

   in this Second Interim Order.

          E.      Necessity of Relief Requested. The Cash Collateral Debtors require the use of Cash

   Collateral in order to finance their operations, absent which immediate and irreparable harm will

   result to the Cash Collateral Debtors, their estates and creditors, and the prospects for a successful

   conclusion of the Chapter 11 Cases. Absent the use of Cash Collateral, it would be impossible for

   the Cash Collateral Debtors to continue to operate their businesses, even for a limited period of

   time, and serious and irreparable harm to the Cash Collateral Debtors, their estates, and their

   creditors would occur. The Cash Collateral Debtors do not have sufficient available sources of

   working capital and financing to continue to operate their business without the use of Cash

   Collateral. The relief requested in the Motion is, therefore, necessary to the preservation and


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   maintenance of the value of the Cash Collateral Debtors’ assets. STUSCO and the Cash Collateral

   Debtors have negotiated at arms’ length and in good faith regarding the Cash Collateral Debtors’

   use of Cash Collateral to fund the continued operations of the Cash Collateral Debtors for the

   period through the Termination Declaration Date (as defined below), all subject to the terms and

   conditions set forth in this Fourth Interim Order, including the protection afforded an entity acting

   in “good faith” under section 363(m) of the Bankruptcy Code. Based on the record presented to

   the Court at the Interim Hearing, the terms of the proposed adequate protection arrangements and

   the use of the Cash Collateral are fair and reasonable under the circumstances, reflect the Cash

   Collateral Debtors’ exercise of prudent business judgment consistent with their fiduciary duties,

   and are supported by reasonably equivalent value and fair consideration. Entry of this Fourth

   Interim Order is in the best interests of the Cash Collateral Debtors, their estates, and their

   creditors.

           F.     Interim Hearings. The Interim Hearings were held pursuant to Bankruptcy Rule

   4001(b)(2). Notice of the emergency relief requested in the Motion and the Interim Hearings was

   provided by the Debtors to the United States Trustee, Region 5 and the entire mailing matrix, and

   no other or further notice is or shall be required.

   NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

           1.     Motion. The Motion is GRANTED, and the Cash Collateral Debtors’ use of Cash

   Collateral on a fourth interim basis is authorized, subject to the terms and conditions set forth in

   this Fourth Interim Order. All objections to the Motion to the extent not withdrawn or resolved,

   and all reservations of rights included therein, are hereby denied and overruled.

           2.     Authorization to Use Cash Collateral. Subject to the terms of this Fourth Interim

   Order, pursuant to section 363(c)(2) of the Bankruptcy Code, the Cash Collateral Debtors are



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   authorized to use Cash Collateral for the period (the “Subject Period”) from the Petition Dates

   through the date which is five (5) business days following a Termination Declaration Date, strictly

   pursuant to and in accordance with the Budget attached to this Fourth Interim Order as Exhibit A

   (the “Budget”). Upon the date of the expiration of the Subject Period, the Cash Collateral Debtors’

   authority to use Cash Collateral shall cease absent further Order of this Court.

          3.      Budget Maintenance. Except as otherwise expressly set forth herein, the Budget

   attached hereto as Exhibit A may be amended or modified in writing only after notice and hearing

   before this Court, and any modifications to, or extensions, amendments or updates of, the Budget

   shall be in form and substance acceptable to and approved in writing by STUSCO in its sole

   discretion (with such consent not to be unreasonably withheld), absent further Order of this Court.

   The Cash Collateral Debtors are authorized to use Cash Collateral subject to and in accordance

   with the Budget; provided, however, that the Cash Collateral Debtors shall submit a revised Budget

   on November 24, 2023, and at the end of each four-week period thereafter. Beginning on

   November 24, 2023, the Cash Collateral Debtors shall deliver to STUSCO on or before the close

   of business on Thursday of each week (and if such day is not a business day, then the next

   succeeding business day) the following: (a) comparison for the prior week of actual results of all

   items contained in the Budget to the amounts originally contained in the Budget and (b) cumulative

   comparison for the period from the Petition Dates through the end of the prior week of the actual

   results of all items contained in the Budget to the amounts originally contained in the Budget, in

   each case along with such supporting information and additional reporting as the STUSCO may

   request. Upon request, the Cash Collateral Debtors shall also deliver items (a) and (b) in the

   preceding sentence to the Subchapter V Trustee and counsel to any official committee appointed

   in these Chapter 11 Cases (the “Committee”), if any. The Cash Collateral Debtors and their



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   professionals, consultants, and other advisors shall be available weekly (subject to reasonable

   scheduling conflicts) for a telephonic conference call with STUSCO and/or its professionals to

   discuss the status of the Chapter 11 Cases, the results of operations and other matters pertaining to

   the Cash Collateral Debtors, including any sale or restructuring efforts. STUSCO shall have

   independent access to the Cash Collateral Debtors’ financial advisors to discuss matters relating

   to the Cash Collateral Debtors, including any contemplated sale or restructuring of the Cash

   Collateral Debtors.

           4.      Adequate Protection Liens. Subject to the Carve-Out (as defined below), as

   adequate protection against any diminution in value of STUSCO and the LOWLA Lienholders’

   interests in the Prepetition Collateral that occurs during the Subject Period, STUSCO and the

   LOWLA Lienholders are hereby granted (effective and perfected as of the Petition Dates and

   without the necessity of the execution by the Cash Collateral Debtors of mortgages, security

   agreements, pledge agreements, financing statements or other agreements) a valid and perfected

   security interest in, and lien on (the “Adequate Protection Liens”), all of the right, title and interest

   of the Cash Collateral Debtors in, to, and under all present and after-acquired property and assets

   of the Cash Collateral Debtors of any nature whatsoever, whether real or personal, tangible or

   intangible, wherever located, including, without limitation, all cash and Cash Collateral of the

   Debtor and any investment of such cash and Cash Collateral, goods, cash-in-advance deposits,

   contracts, causes of action, general intangibles, accounts receivable, and other rights to payment,

   whether arising before or after the Petition Dates, chattel paper, documents, instruments, interests

   in leaseholds, real properties, plants, machinery, equipment, patents, copyrights, trademarks, trade

   names or other intellectual property, licenses, insurance proceeds, and commercial tort claims, and

   all proceeds, products, offspring, rents and profits thereof, rights under letters of credit, capital



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   stock and other equity or ownership interests held by the Cash Collateral Debtors, including equity

   interests in subsidiaries and all other investment property, and the proceeds of all of the foregoing,

   whether now existing or hereafter acquired (collectively, the “Adequate Protection Collateral”);

   provided, however, that the Adequate Protection Liens shall not attach to causes of action or the

   proceeds of causes of action under Chapter 5 of the Bankruptcy Code (“Avoidance Actions”), and

   Avoidance Actions shall not constitute Adequate Protection Collateral. Subject to the Carve-Out

   (as defined below), the Adequate Protection Liens shall be (i) first priority perfected liens on all

   of the Adequate Protection Collateral that is not otherwise encumbered by validly perfected, non-

   avoidable security interests or liens as of the Petition Dates other than the Avoidance Actions

   (collectively, the “Unencumbered Assets”), (ii) perfected replacement liens on all of the Adequate

   Protection Collateral as to which STUSCO and the LOWLA Lienholders had a first priority lien

   as of the Petition Dates, subject to any Carve-Out, and (iii) junior perfected liens on all Adequate

   Protection Collateral that is subject to a validly perfected lien with priority over STUSCO’s and

   the LOWLA Lienholders’ liens as of the Petition Dates, if any. The priority between STUSCO

   and the LOWLA Lienholders in the Adequate Protection Liens and Adequate Protection

   Superpriority Claim (defined below) shall be in the same rank and priority as such parties

   possessed in the prepetition assets of the Cash Collateral Debtors.

          5.      Priority of Adequate Protection Liens. The Adequate Protection Liens shall be

   enforceable against the Cash Collateral Debtors, their estates, and any successors thereto, including

   without limitation, any trustee or other estate representative appointed in the Chapter 11 Cases, or

   any case under chapter 7 of the Bankruptcy Code upon the conversion of the Chapter 11 Cases, or

   in any other proceedings superseding or related to any of the foregoing (collectively, the

   “Successor Cases”). Except as provided herein, the Adequate Protection Liens shall not be made



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   junior to or pari passu with any lien or security interest by any court order heretofore or hereafter

   entered in the Chapter 11 Cases or any Successor Cases, and shall be valid and enforceable against

   any trustee appointed in the Chapter 11 Cases or any Successor Cases, or upon the dismissal of the

   Chapter 11 Cases or Successor Cases; provided, however, and for the avoidance of doubt, the

   Adequate Protection Liens shall not prime any validly perfected lien on any Adequate Protection

   Collateral having priority over STUSCO and the LOWLA Lienholders’ liens as of the Petition

   Dates.

            6.    Adequate Protection Superpriority Claim. Only to the extent that the Adequate

   Protection Liens do not adequately protect against the diminution in the value of STUSCO and the

   LOWLA Lienholders’ interests in the Prepetition Collateral, as further adequate protection against

   any diminution in value of the interests of STUSCO and the LOWLA Lienholders in the

   Prepetition Collateral, STUSCO and the LOWLA Lienholders are hereby granted as and to the

   extent provided by sections 503(b) and 507(b) of the Bankruptcy Code allowed Superpriority

   administrative expense claims in the Chapter 11 Cases in the amount of the Adequate Protection

   Obligations (the “Adequate Protection Superpriority Claim”), subject to any Carve-Out, which

   shall be payable from and have recourse to all Adequate Protection Collateral and all proceeds of

   Adequate Protection Collateral; provided, however, that for the avoidance of doubt, (i) the

   Adequate Protection Superpriority Claim shall not have recourse to any Avoidance Actions or the

   proceeds thereof; and (ii) the Adequate Protection Superpriority Claim shall not be payable from

   or have recourse to Unencumbered Assets and the proceeds thereof unless and to the extent that

   the Adequate Protection Collateral and all proceeds thereof (excluding Unencumbered Assets and

   proceeds thereof) is insufficient to satisfy the Adequate Protection Obligations in full; and (iii) the

   Administrative Agent shall satisfy or repay, and shall be deemed to have satisfied and repaid, the



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   Adequate Protection Obligations first from all other Adequate Protection Collateral and proceeds

   thereof prior to applying any of the proceeds of the Unencumbered Assets to the Adequate

   Protection Obligations.

          7.      Priority of Adequate Protection Superiority Claim.          The Adequate Protection

   Superpriority Claim shall be junior only to the Carve-Out (as defined herein). Except for the

   Carve-Out, the Adequate Protection Superpriority Claim shall have priority over all administrative

   expense claims and unsecured claims against the Cash Collateral Debtors or their estates, now

   existing or hereafter arising, of any kind or nature whatsoever, including, without limitation,

   administrative expenses of the kinds specified in or ordered pursuant to sections 105, 326, 328,

   330, 331, 364, 365, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c), 546(d), 1113 and 1114 of the

   Bankruptcy Code.

          8.      Modification of Automatic Stay. The automatic stay under Bankruptcy Code

   section 362(a) is hereby modified as necessary to effectuate all of the terms and provisions of this

   Fourth Interim Order, including, without limitation, to: (a) permit the Cash Collateral Debtors to

   grant the Adequate Protection Liens and Adequate Protection Superpriority Claim; (b) permit the

   Cash Collateral Debtors to perform such acts as STUSCO and/or the LOWLA Lienholders may

   request in their sole discretion to assure the perfection and priority of the liens granted herein; and

   (c) authorize the Cash Collateral Debtors to pay, and STUSCO and/or the LOWLA Lienholders

   to retain and apply, payments made in accordance with the terms of this Fourth Interim Order,

   provided, however, any stay relief with respect to the exercise of remedies shall be in accordance

   with Paragraph 13 or as otherwise ordered by the Court.

          9.      Perfection of Adequate Protection Liens. This Fourth Interim Order shall be

   sufficient and conclusive evidence of the validity, perfection, and priority of the Adequate



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   Protection Liens, without the necessity of filing or recording any mortgage, financing statement or

   other instrument or document which may otherwise be required under the law or regulation of any

   jurisdiction or the taking of any other action (including, for the avoidance of doubt, entering into

   any deposit account control agreement) to validate or perfect (in accordance with applicable non-

   bankruptcy law) the Adequate Protection Liens, or to entitle STUSCO and the LOWLA

   Lienholders to the priorities granted herein. Notwithstanding the foregoing, the Cash Collateral

   Debtors are authorized and directed to execute and deliver promptly to STUSCO and/or the

   LOWLA Lienholders all such financing statements, mortgages, notices and other documents as

   STUSCO and/or the LOWLA Lienholders may reasonably request, and STUSCO and/or the

   LOWLA Lienholders may file a certified copy of this Fourth Interim Order as a financing

   statement with any filing or recording office or with any registry of deeds or similar office, in

   addition to or in lieu of such financing statements, notices of lien, or similar instruments.

          10.     Disposition of Collateral.     To the extent that STUSCO and/or the LOWLA

   Lienholders have a lien on any Adequate Protection Collateral or Prepetition Collateral, or consent

   rights with respect to disposition of any of the Cash Collateral Debtors’ assets under the Loan

   Documents, the Cash Collateral Debtors shall not sell, transfer, lease, encumber or otherwise

   dispose of any such Adequate Protection Collateral or Prepetition Collateral outside the ordinary

   course of business without Court Order.

          11.     Additional Adequate Protection.          As additional adequate protection (the

   “Additional Adequate Protection”):

                  a.      Interest and Principal Payments. STUSCO shall receive from the Cash
          Collateral Debtors on the last business day of each month thereafter, cash payment of
          principal equal in an amount calculated based upon the outstanding principal balance due
          as of the Petition Dates amortized over the remaining term under the Loan Documents
          (approximately $285,761.91 per month) plus all accrued and unpaid interest, at the
          applicable default rates (9%) provided in the Loan Agreement. These monthly interest and

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         principal payments are being made by the Cash Collateral Debtors in exchange for
         STUSCO’s agreement, absent a Termination Event under this Second Interim Order, (i) to
         not terminate that certain Master Crude Petroleum Purchase and Sale Agreement, dated as
         of December 16, 2021, and that certain Master Crude Petroleum Purchase and Sale
         Agreement Confirmation, dated as of December 16, 2021, (collectively, and as amended
         from time to time, the “Crude Agreement”) by and between Whitney and STUSCO, and
         (ii) to not exercise its right to net the amount STUSCO owes to Whitney against the debt
         owed by Whitney to STUSCO; provided, however, that such agreement is based solely on
         the existing event of default under the Crude Agreement occurring based on Whitney’s
         bankruptcy filing and shall not affect STUSCO’s remedies upon occurrence of a
         Termination Event as set forth in paragraph 13 of this Second Interim Order.

                 b.     Fees and Expenses: In accordance with this paragraph 11(b), and to the
         extent allowed under applicable law and/or the Loan Documents, the Cash Collateral
         Debtors are authorized and directed to pay, all reasonable and documented professional
         and advisory fees, costs and expenses of their legal, financial and other professionals,
         including Norton Rose Fulbright US LLP, as lead counsel to STUSCO, Jones Walker LLP,
         as local counsel to STUSCO, and any other local or regulatory counsel as may at any time
         be necessary (collectively, the “STUSCO Professionals”), within ten (10) business days
         after the presentment of any such invoices (which may be in summary form only) to the
         Debtors, the U.S. Trustee, the Subchapter V Trustee, and the Committee, if any. The
         STUSCO Professionals shall not be required to comply with the Appendix A to Part 58—
         Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses
         Filed Under 11 U.S.C. 330 (the “U.S. Trustee Fee Guidelines”) and shall not be subject to
         application or allowance by the Court, unless STUSCO has received a written objection
         from the Debtors, the U.S. Trustee, the Subchapter V Trustee, or the Committee, within
         the ten (10) business day notice period as set forth above.

                 c.     Reporting: The Cash Collateral Debtors shall comply with the reporting
         requirements set forth in the Loan Documents and provide copies of all reports to the
         STUSCO Professionals. In addition to the reporting requirements set forth in the Loan
         Agreement, the Cash Collateral Debtors shall provide to STUSCO, on or before the close
         of business on Thursday of each week (and if such day is not a business day, then the next
         succeeding business day), a report regarding cash flow projections for the three calendar
         months following such week, all certified by a financial officer as presenting fairly in all
         material respects the financial condition and results of operations of the Cash Collateral
         Debtors on a consolidated basis in accordance with GAAP consistently applied, subject to
         normal year-end audit adjustments and the absence of footnotes.

                d.       Access: In addition to, and without limiting, whatever rights to access
         STUSCO has under the Loan Documents, upon reasonable prior written notice and
         otherwise not to be unreasonably withheld, the Cash Collateral Debtors shall permit
         representatives, agents and/or employees of STUSCO, including the STUSCO
         Professionals, to have reasonable access to its premises and records during normal business
         hours and shall cooperate, consult with, and provide to such persons all such non-privileged
         information as they may reasonably request.


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          12.    Events of Default. The occurrence of any of the following events, unless waived in

   writing by STUSCO and/or the LOWLA Lienholders, as applicable, shall constitute an event of

   default (each a “Termination Event,” and collectively, the “Termination Events”):

                 a.     the failure by the Cash Collateral Debtors to perform, in any respect, any of
          the terms, provisions, conditions, covenants, or obligations under this Fourth Interim
          Order;

                  b.      the filing by the Cash Collateral Debtors of any debtor-in-possession
          financing pleadings or any documents pertaining to a debtor-in-possession financing that
          adversely effects STUSCO’s Prepetition Liens, STUSCO’s Adequate Protection Liens, or
          the rights granted under any agreements between the Debtors and STUSCO;

                  c.      the Cash Collateral Debtors’ obtaining of credit or the incurring of
          indebtedness that is (i) secured by a security interest or other lien on all or any portion of
          the Adequate Protection Collateral or Prepetition Collateral which is equal or senior to any
          security interest or other lien of STUSCO and/or the LOWLA Lienholders, or (ii) entitled
          to priority administrative status which is equal or senior to that granted to STUSCO and/or
          the LOWLA Lienholders;

                  d.      any lien or security interest purported to be created under the Loan
          Documents shall cease to be, or shall be asserted by the Cash Collateral Debtors not to be,
          a valid and perfected lien on or security interest in any Adequate Protection Collateral, with
          the priority required by the Loan Documents or herein;

                  e.     the entry of an order by the Court granting relief from or modifying the
          automatic stay of section 362 of the Bankruptcy Code (i) to allow any creditor to execute
          upon or enforce a lien on or security interest in any Adequate Protection Collateral having
          a value in excess of $25,000.00, or (ii) with respect to any lien on or the granting of any
          lien on any Adequate Protection Collateral or Prepetition Collateral to any state or local
          environmental or regulatory agency or authority, which in either case would have a
          material adverse effect on the business, operations, property, assets, or condition, financial
          or otherwise, of the Debtor;

                 f.      dismissal of the Chapter 11 Cases or conversion of the Chapter 11 Cases to
          chapter 7 cases, or appointment in the Chapter 11 Cases of a chapter 11 trustee or examiner
          with enlarged powers or other responsible person;

                 g.       any misrepresentation of a material fact made after the Petition Dates by the
          Cash Collateral Debtors or its agents to STUSCO about the financial condition of the Cash
          Collateral Debtors, the nature, extent, location or quality of any Adequate Protection
          Collateral or Prepetition Collateral, or the disposition or use of any Adequate Protection
          Collateral or Prepetition Collateral, including Cash Collateral;




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                 h.      a default by any of the Cash Collateral Debtors in reporting financial
          information as and when required under this Fourth Interim Order;

                  i.    a default by Whitney with respect to any of the Events of Default as defined
          in the Crude Agreement by and between Whitney and STUSCO;

                  j.     the failure of the Cash Collateral Debtors to timely meet any of the
          following case milestones; provided, however, that the following case milestones shall be
          subject to modification by the Court for Court administrative reasons:

                       (i)        entry of a final, nonappealable order approving the bid procedures
                  of the Sale, in form and substance acceptable to STUSCO in its reasonable
                  discretion, on or prior to December 15, 2023; and

                       (ii)      entry of a final, nonappealable order approving the Sale, in form and
                  substance acceptable to STUSCO in its reasonable discretion, on or prior to June
                  14, 2024, to the extent STUSCO is not paid in full;

                  k.      the filing by the Cash Collateral Debtors of a disclosure statement or plan
          that adversely effects STUSCO’s Prepetition Liens, STUSCO’s Adequate Protection
          Liens, or the rights granted under any agreements between the Debtors and STUSCO;

                  l.      the deviation of actual performance under the Budget by 10% or more
          calculated on an aggregate basis and measured (i) with respect to the Budget attached
          hereto as Exhibit A, for the two-week period beginning on January 15, 2024, and (ii)
          thereafter, on a rolling two-week basis;

                 m.      the filing by the Cash Collateral Debtors of any motion seeking, or the
          granting of any motion providing for, reversal, vacatur, or modification (other than a
          modification with the express prior written consent of STUSCO and/or the LOWLA
          Lienholders, as applicable) of this Second Interim Order.

          13.     Rights and Remedies Upon Termination Event. Immediately upon the occurrence

   and during the continuation of a Termination Event, STUSCO and/or the LOWLA Lienholders,

   as applicable, may declare a termination, reduction, or restriction of the ability of the Cash

   Collateral Debtors to use any Cash Collateral (any such declaration, shall be referred to herein as

   a “Termination Declaration”). The Termination Declaration shall be given by email (or other

   electronic means) to counsel to the Cash Collateral Debtors, the Subchapter V Trustee, counsel to

   the Committee, if any, and the U.S. Trustee (the earliest date any such Termination Declaration is

   made shall be referred to herein as the “Termination Declaration Date”). Upon the passage of five


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   (5) business days from the Termination Declaration Date, unless the Cash Collateral Debtors shall

   have cured such Termination Event in full prior to the expiration of such five-day period, including

   with respect to any Termination Event under paragraph 12(g) by correcting any such

   misrepresentation, (a) the Cash Collateral Debtors’ right to use Cash Collateral shall automatically

   cease, and the Cash Collateral Debtors shall no longer have the right to use or seek to use Cash

   Collateral; and (b) the automatic stay shall automatically be terminated without further notice or

   order, and STUSCO and/or the LOWLA Lienholders, as applicable, shall be permitted to exercise

   all remedies set forth herein and in the Loan Documents, as applicable, and as otherwise available

   at law against the Adequate Protection Collateral and the Prepetition Collateral, without further

   notice, order of or application or motion to the Court, and without restriction or restraint by any

   stay under sections 362 or 105 of the Bankruptcy Code, or otherwise, against the enforcement of

   the liens and security interest in the Adequate Protection Collateral and the Prepetition Collateral

   or any other rights and remedies granted to STUSCO and the LOWLA Lienholders with respect

   thereto pursuant to the Loan Documents or this Fourth Interim Order, as applicable; provided,

   however, that notwithstanding anything to the contrary herein, (i) during such five-day period, any

   party-in-interest shall have the right to file an expedited motion to determine whether a

   Termination Event has occurred (a “Determination Motion”); and (ii) if a request for hearing,

   subject to the Court’s availability, on the Determination Motion is made prior to the end of such

   five-day period from the Termination Declaration Date, the Cash Collateral Debtors’ shall

   maintain their right to use Cash Collateral pursuant to the terms of this Fourth Interim Order until

   the Court hears and rules on the Determination Motion. Notwithstanding the delivery of a

   Termination Declaration, each Cash Collateral Debtor is authorized to use Cash Collateral to pay

   any item set forth in the Budget attached to this Second Interim Order as Exhibit A that was due



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   to be paid prior to the Termination Declaration Date, and neither STUSCO nor the LOWLA

   Lienholders shall have the right to seek disgorgement of any payment made or to be made under

   the Budget in a period prior to the Termination Declaration Date.

          14.     Carve-Out. Subject to the terms and conditions contained in this paragraph, the

   Adequate Protection Liens and the Adequate Protection Superpriority Claim shall be subordinate

   to the following (collectively, the “Carve-Out”): (i) fees pursuant to 28 U.S.C. § 1930(a)(6), if any;

   (ii) fees payable to the clerk of the Bankruptcy Court and any agent thereof; (iii) fees payable to

   the Subchapter V Trustee; (iv) to the extent allowed at any time, whether by interim order,

   procedural order, or otherwise, all allowed, unpaid fees and expenses (not to exceed the amounts

   set forth in the Budget up to, but not beyond, the Termination Declaration Date) incurred by

   persons or firms retained by the Debtor pursuant to section 327, 328, or 363 of the Bankruptcy

   Code (collectively, the “Debtor Professionals”) and the Committee, if any, pursuant to section 328

   or 1103 of the Bankruptcy Code (the “Committee Professionals,” and together with the Debtor

   Professionals, the “Professional Persons”) at any time before or on the first business day following

   delivery by STUSCO and/or the LOWLA Lienholders, as applicable, of a Termination

   Declaration, whether allowed by the Court prior to or after delivery of a Termination Declaration;

   and (v) allowed fees and expenses of Professional Persons in an aggregate amount not to exceed

   $250,000 incurred after the first business day following delivery by STUSCO and/or the LOWLA

   Lienholders, as applicable, of the Termination Declaration unless the Court rules in favor of any

   party-in-interest that timely files a Determination Motion as provided in paragraph 13 of this

   Fourth Interim Order, to the extent allowed at any time, whether by interim order, procedural order,

   or otherwise. Payment of any obligations within the Carve-Out shall not and shall not be deemed

   to reduce the Loans or the Adequate Protection Obligations and shall not and shall not be deemed



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   to subordinate the Adequate Protection Liens or the Adequate Protection Superpriority Claim to

   any junior prepetition or postpetition lien, interest, or claim (other than the Carve-Out) in favor of

   any other party. Nothing in this paragraph shall alter the requirements for Court approval and

   allowance of fees and expenses incurred by Professional Persons or the rights of the Cash

   Collateral Debtors, STUSCO, the LOWLA Lienholders, or any other party-in-interest to object to

   the award of such requested fees and expenses.

          15.     Lien Review Period. Notwithstanding anything contained herein to the contrary,

   the extent, validity, priority, perfection, and enforceability of the Prepetition Liens, and all

   acknowledgments, admissions, and confirmations of the Cash Collateral Debtors in paragraph C

   of this Fourth Interim Order, are subject to the rights of any party in interest (including any trustee

   appointed or elected or the Committee), other than the Cash Collateral Debtors or any of its

   affiliates, to file a complaint, or a motion seeking derivative standing to file any such complaint (a

   “Standing Motion”), pursuant to Bankruptcy Rule 7001 seeking to invalidate, subordinate, or

   otherwise challenge (collectively, the “Challenges”) the Loans or the Prepetition Liens; provided,

   however, that any such complaint or Standing Motion must be filed in this Court by any party-in-

   interest (other than the Cash Collateral Debtors or any of its affiliates), including the Committee,

   within 75 calendar days from the entry of the First Interim Order, or, solely with respect to the

   Committee, within 60 calendar days from the date of the Committee’s formation, or any

   subsequent date that may be agreed to in writing by STUSCO and/or the LOWLA Lienholders, as

   appliable, with respect to the time to file any such complaint and/or Standing Motion relating to

   the Loans and/or the Prepetition Liens (the “Investigation Period”). If no such complaint and/or

   Standing Motion is filed within the Investigation Period, then (a) all Challenges shall be, without

   further notice to or order of the Court, deemed to have been forever relinquished, released, and



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   waived as to the Committee and other person or entity and (b) the Stipulations set forth in

   paragraph C of this Fourth Interim Order shall be fully binding on the Cash Collateral Debtors,

   their estates, and all creditors and parties in interest. If such a complaint and/or a Standing Motion

   is timely filed within the Investigation Period, all claims and defenses against STUSCO and/or the

   LOWLA Lienholders, as applicable shall be deemed, immediately and without further action, to

   have been forever relinquished, released, and waived as to the Committee and other person or

   entity, except with respect to claims and defenses that are expressly asserted in such complaint

   and/or Standing Motion.

          16.     Limitations on the Cash Collateral and the Carve-Out.

                        a. From and after the date of entry of this Fourth Interim Order, except as

   provided herein, the proceeds of the Adequate Protection Collateral and Cash Collateral shall not,

   directly or indirectly, be used to pay any expenses, payments, and/or disbursements of the Cash

   Collateral Debtors or incurred by the Cash Collateral Debtors except for those items which are

   then due, expressly permitted under the Budget or this Fourth Interim Order, and in such amounts

   as clearly identified in the Budget and/or this Fourth Interim Order (including compensation and

   reimbursement of expenses allowed by this Court to Court-approved professional persons to the

   extent that such fees and expenses are in accordance with the line items for such professionals in

   the Budget). Subject to the Carve Out, in no event shall any costs or expenses of administration

   be imposed upon STUSCO, the LOWLA Lienholders, or any of the Adequate Protection Collateral

   pursuant to sections 105(a), 506(c) and/or 552 of the Bankruptcy Code, without the prior written

   consent of STUSCO and/or the LOWLA Lienholders, as applicable,, and no such consent shall be

   implied from any action, inaction, or acquiescence by STUSCO and/or the LOWLA Lienholders,

   as applicable; and



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                      b. Notwithstanding anything herein, Cash Collateral may only be used in

   accordance with the Budget and, in any event, the Cash Collateral and the Carve-Out may not be

   used: (a) in connection with or to finance in any way any action, suit, arbitration, proceeding,

   application, motion, or other litigation of any type (i) against the Administrative Agent or any other

   Secured Party or seeking relief that would impair their rights and remedies under the Loan

   Documents or this Fourth Interim Order, including, without limitation, (A) to assert, commence,

   or prosecute any claims or causes of action whatsoever, including, without limitation, any actions

   for lender liability against STUSCO and/or the LOWLA Lienholders, any actions under section

   105 of the Bankruptcy Code against STUSCO and/or the LOWLA Lienholders, any actions under

   chapter 5 of the Bankruptcy Code against STUSCO and/or the LOWLA Lienholders, or any

   actions under applicable, non-bankruptcy law or otherwise against STUSCO and/or the LOWLA

   Lienholders, (B) to prosecute an objection to, contest in any manner, or raise any defenses to, the

   validity, extent, amount, perfection, priority, or enforceability of any of the rights and obligations

   of STUSCO and/or the LOWLA Lienholders or seeking affirmative relief against STUSCO and/or

   the LOWLA Lienholders, or (C) for the payment of any services rendered by any Professional

   Person in connection with the assertion of or joinder in any claim, counterclaim, action,

   proceedings, application, motion, objection, defense or other contested matter, the purpose of

   which is to seek, or the result of which would be to obtain, any order, judgment determination,

   declaration or similar relief that would impair the ability of STUSCO to recover on the Loans, (ii)

   invalidating, setting aside, avoiding or subordinating, in whole or in part, the Loans, (iii) for

   monetary, injunctive or other affirmative relief against STUSCO and/or the LOWLA Lienholders

   or their Adequate Protection Collateral or Prepetition Collateral, or (iv) preventing, hindering or

   otherwise delaying the exercise by STUSCO and/or the LOWLA Lienholders of any rights and/or



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   remedies under this Fourth Interim Order, the Loan Documents, or applicable law, or the

   enforcement of realization (whether by foreclosure, credit bid, further order of the Court or

   otherwise) by STUSCO and/or the LOWLA Lienholders upon any of the Adequate Protection

   Collateral and the Prepetition Collateral; (b) to make any payment in settlement of any claim,

   action or proceeding, before any court, arbitrator or other governmental body without prior written

   consent of STUSCO and/or the LOWLA Lienholders, unless otherwise ordered by the Court; (c)

   to pay any fees or similar amounts to any person who has proposed or may propose to purchase

   interests in the Cash Collateral Debtors without the prior written consent of STUSCO and/or the

   LOWLA Lienholders, (d) to object, contest, or interfere with in any way the enforcement or

   realization upon any of the Adequate Protection Collateral or the Prepetition Collateral by

   STUSCO and/or the LOWLA Lienholders once a Termination Event has occurred, unless the Cash

   Collateral Debtors cure such default or the Court rules against STUSCO and/or the LOWLA

   Lienholders on a timely filed Determination Motion pursuant to paragraph 13 of this Fourth

   Interim Order; (e) to sell or otherwise dispose of the Adequate Protection Collateral or the

   Prepetition Collateral without the prior consent of STUSCO and/or the LOWLA Lienholders, as

   applicable; (f) to pay indebtedness outside the ordinary course of business without the prior written

   consent of STUSCO and/or the LOWLA Lienholders, as applicable; (g) to incur any new

   indebtedness on a senior or pari passu basis with the Prepetition Liens without the prior written

   consent of STUSCO and/or the LOWLA Lienholders, as applicable; (h) to object to or challenge

   in any way the claims, liens, or interests (including interests in the Adequate Protection Collateral

   and the Prepetition Collateral) held by or on behalf of STUSCO and/or the LOWLA Lienholders,

   as applicable; (i) to pay any costs or expenses that are not ordinary course operating expenses of

   the Cash Collateral Debtors, unless otherwise ordered by the Court; or (j) to modify or seek to



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   modify the rights of STUSCO and/or the LOWLA Lienholders under this Fourth Interim Order;

   provided, however, that the Cash Collateral in an amount not to exceed $20,000 in the aggregate

   may be used by the Committee, if any, for allowed fees and expenses incurred solely by the

   Committee to conduct the investigations set forth in paragraph 15 of this Fourth Interim Order to

   investigate the validity, amount, extent, perfection, priority, enforceability, or avoidability of the

   Prepetition Liens, the Loans, and the Prepetition Collateral of STUSCO and the LOWLA

   Lienholders. Any upward adjustments to the cap must be requested for by the Committee and

   approved by STUSCO; if STUSCO does not approve the adjustment, the Committee shall have

   the right to file an expedited motion to determine whether the cap should be increased.

           17.     No Third-Party Rights. Except as explicitly provided for herein, this Fourth Interim

   Order does not create any rights for the benefit of any third-party, creditor, equity holder or any

   direct, indirect, or incidental beneficiary.

           18.     Section 506(c) Claims. Subject to and upon entry of this Fourth Interim Order, no

   costs or expenses of administration that have been or may be incurred in any of the Chapter 11

   Cases or any Successor Cases at any time shall be charged against any of STUSCO and/or the

   LOWLA Lienholders, any of their claims, any obligations under the Loan Agreement, any

   Adequate Protection Liens, and Adequate Protection Superpriority Claims, any Prepetition Liens,

   or any Adequate Protection Collateral or Prepetition Collateral, including any Cash Collateral,

   pursuant to sections 105 or 506(c) of the Bankruptcy Code, or otherwise, without the prior written

   consent of STUSCO and/or the LOWLA Lienholders, as applicable; provided, however, that

   nothing herein shall prejudice the rights of (i) the Committee, if the Committee is granted

   derivative standing by final, non-appealable order, (ii) a chapter 7 trustee (or any successor

   trustees), if appointed, or (iii) after the effective date of a confirmed plan of liquidation, the plan



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   administrator, liquidating trustee, or any other successor to the estate with authority to prosecute

   the estate claims, causes of action, and challenges asserted in any Standing Motion filed by the

   Committee to seek to charge such costs or expenses of administration as and solely to the extent

   asserted in such Standing Motion, and all parties’ rights and defenses with respect thereto are

   reserved and preserved.

          19.      No Marshaling/Application of Proceeds. Subject to and upon entry of this Fourth

   Interim Order, neither STUSCO nor the LOWLA Lienholders shall be subject to the equitable

   doctrine of “marshaling” or any other similar doctrine with respect to any of the Adequate

   Protection Collateral or the Prepetition Collateral, including any Cash Collateral, as the case may

   be, and proceeds shall be received and applied in accordance with this Fourth Interim Order and

   the Loan Agreement, notwithstanding any other agreement or provision to the contrary.

          20.      Section 552(b). Subject to and upon entry of this Fourth Interim Order, STUSCO

   and the LOWLA Lienholders shall each be entitled to all of the rights and benefits of section

   552(b) of the Bankruptcy Code, and the “equities of the case” exception under section 552(b) of

   the Bankruptcy Code shall not apply to any of STUSCO and the LOWLA Lienholders with respect

   to proceeds, product, offspring or profits of any of the Adequate Protection Collateral or the

   Prepetition Collateral, including any Cash Collateral.

          21.      Rights Preserved.

                a. Notwithstanding anything herein to the contrary, the entry of this Fourth Interim

                   Order is without prejudice to, and does not constitute a waiver of, expressly or

                   implicitly: (a) STUSCO’s and the LOWLA Lienholders’ rights to seek any other or

                   supplemental relief in respect of the Cash Collateral Debtors, including the right to

                   seek additional adequate protection; (b) any of the rights of STUSCO and the



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               LOWLA Lienholders under the Bankruptcy Code or under non-bankruptcy law,

               including, without limitation, the right to (i) request modification of the automatic

               stay of section 362 of the Bankruptcy Code, (ii) request dismissal of the Chapter 11

               Cases or Successor Cases, conversion of the Chapter 11 Cases to cases under

               chapter 7, or appointment of a chapter 11 trustee or examiner with expanded

               powers, or (iii) propose, subject to the provisions of section 1121 of the Bankruptcy

               Code, a chapter 11 plan or plans.

            b. Nothing in this Order shall constitute a finding: (a) with respect to the estates’

               ownership interests in the Wells (as defined in Freestone’s Limited Objection)

               [ECF No. 69, Case No. 23-111873] or (b) that the hydrocarbon production

               associated with Freestone’s interests in the Wells constitutes property of the

               Debtors’ estates or “cash collateral.”

            c. The funds paid to Freestone pursuant to 22(a) below and segregated pursuant to

               22(b) below shall not serve as adequate protection for creditors prior to any

               determination of ownership. If the interest in the Well bores that generate the funds

               are determined to be the property of Freestone, the funds in the accounts shall not

               serve as adequate protection for creditors or be subject to any replacement liens

               granted herein. To the extent that the Debtors own an interest in any of the Well

               Bores, the funds generated from the Well Bores shall become “property of the

               estate,” to the extent of Debtors’ interest but not otherwise and constitute cash

               collateral and subject to the replacement liens granted herein. The Debtors stipulate

               that at least 50% of the Well Bores and the funds attributable to the sale of

               hydrocarbons are the property of Freestone. Any party in interest may contest this



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                stipulation by filing an action on or before January 15th, 2024. If no such objection

                is filed, the funds paid to Freestone pursuant to 22(a) below shall not be considered

                “cash collateral” and will not be subject to a claim that the funds paid to Freestone

                are subject to any replacement liens granted herein

      22. Freestone Proceeds.

             a. Subject to the foregoing and preservation of all rights of Freestone, the Debtors are

                authorized and directed to remit to Freestone the undisputed proceeds of

                Freestone’s production in accordance with the respective Cash Collateral Budgets

                for East Bay and Garden Island Bay. For the purposes of this Order, the undisputed

                proceeds shall mean: (i) fifty percent (50%) of the production proceeds, net of

                Royalty payments, severance tax, LOE, and other burdens of production (“Costs of

                Production”), from the East Bay Alpha, Beta, Gamma, and Epsilon Wells (as

                defined in Freestone’s Limited Objection [Docket 69]) and (ii) zero percent (0%)

                of the production proceeds, net of the costs of production, from the Garden Island

                Bay Delta Well (as defined in Freestone’s Limited Objection [Docket 69]).

             b. With respect to the disputed Freestone proceeds, Whitney shall segregate and

                preserve the disputed proceeds, net of the Costs of Production, from the Alpha,

                Beta, Gamma, Delta, and Epsilon Wells (collectively, the “Wells”) until resolution

                of title disputes between Debtors and Freestone relative to the disputed interests

                and further order of the Court.

             c. Freestone and Debtors reserve all rights with respect to Freestone’s claims

                including all rights to audit or otherwise request an appropriate adjustment to the




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                  Costs of Production and Debtors’ and Freestone reserve all rights with respect to

                  interests in the Wells and the production attributable therefrom.

          23.     Section 507(b) Reservation. Nothing herein shall impair or modify the application

   of section 507(b) of the Bankruptcy Code in the event that the adequate protection provided to

   STUSCO and the LOWLA Lienholders hereunder is shown to be insufficient to compensate for

   any diminution in value of STUSCO and the LOWLA Lienholders’ interests in the Prepetition

   Collateral during the Chapter 11 Cases or any Successor Cases. Nothing contained herein shall be

   deemed a finding by the Court, or an acknowledgement by STUSCO and the LOWLA

   Lienholders, that the adequate protection granted herein does in fact adequately protect STUSCO

   and the LOWLA Lienholders against any diminution in value of its interest in the Prepetition

   Collateral (including Cash Collateral).

          24.     No Waiver by Failure to Seek Relief. The failure of STUSCO and the LOWLA

   Lienholders to seek relief or otherwise exercise its rights and remedies under this Fourth Interim

   Order or applicable law, as the case may be, shall not constitute a waiver of any rights hereunder,

   thereunder, or otherwise of STUSCO and the LOWLA Lienholders.

          25.     Binding Effect. The provisions of this Fourth Interim Order shall be binding upon

   and inure to the benefit of the Cash Collateral Debtors, STUSCO, the LOWLA Lienholders, the

   U.S. Trustee, all other creditors of any of the Cash Collateral Debtors, the Subchapter V Trustee,

   the Committee (if any), and all other parties in interest and their respective successors and assigns,

   including any trustee or other fiduciary hereafter appointed in the Chapter 11 Cases, any Successor

   Cases, or upon dismissal of the Chapter 11 Cases or Successor Cases. In the event of any

   inconsistency between the provisions of this Fourth Interim Order and any other order (including

   any “First Day” Pleadings and Orders relating thereto), the provisions of this Fourth Interim Order



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   shall govern and control. Any payments to be made under any order (including any “First Day”

   order) shall only be made in accordance with this Fourth Interim Order and the Budget.

          26.     Effectiveness. This Fourth Interim Order shall constitute findings of fact and

   conclusions of law and shall take effect and be fully enforceable nunc pro tunc to the Petition

   Dates immediately upon entry hereof. Notwithstanding Bankruptcy Rules 7062, 9014 or any other

   Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this Third Interim Order

   shall be immediately effective and enforceable upon its entry and there shall be no stay of

   execution or effectiveness of this Fourth Interim Order. To the extent that any finding of fact shall

   be determined to be a conclusion of law it shall be so deemed and vice versa.

          27.     Proofs of Claim. STUSCO shall not be required to file a proof of claim in these

   Chapter 11 Cases. Any order entered by the Court in relation to the establishment of a bar date for

   any claim (including without limitation, STUSCO’s claims) in the Chapter 11 Cases or Successor

   Cases shall not apply to STUSCO with respect to the Prepetition Indebtedness.

          28.     Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce this

   Fourth Interim Order according to its terms.

          IT IS FURTHER ORDERED that the Court shall hold a further interim hearing to

   consider the Motion on Thursday, February 22, 2024, at 9:30 a.m. before the undersigned at the

   United States Bankruptcy Court, Eastern District of Louisiana, 500 Poydras Street, Courtroom B-

   709, New Orleans, Louisiana, 70130. Parties in interest may participate in the hearing (i) in person;

   (ii) by telephone only (Dial-in 504-517-1385, Access Code 129611); or (iii) by telephone using

   the dial-in number and video using https://gotomeet.me/JudgeGrabill. Parties in interest are

   advised to review this Court’s Amended General Order 2021-2 for information on conduct of

   hearings, available at https://laeb.uscourts.gov/.



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           IT IS HEREBY FURTHER ORDERED that any opposition to the Motion must be filed

   and properly served on or before Thursday, February 15, 2024.

           IT IS FURTHER ORDERED that the Debtors shall serve this Order via first-class U.S.

   Mail on the required parties who will not receive a copy through the Court’s CM/ECF system

   pursuant to the Federal Rules of Bankruptcy Procedure and this Court’s Local Rules and file a

   certificate of service to that effect within three (3) days.

           New Orleans, Louisiana, January 18, 2024.

                                                   __________________________________________
                                                              MEREDITH S. GRABILL
                                                      UNITED STATES BANKRUPTCY JUDGE




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                                                       EXHIBIT A
Trimont (GIB)                                                                 1/1/2024 2/1/2024           3/1/2024      4/1/2024
Cash Collateral Forecast                      NYMEX Strip                     $72.00    $71.00            $71.00        $71.00
As of 1/15/24                                 Flat                            $65.00    $65.00            $65.00        $65.00
                           As of 1/15/24      Case (1:Strip; 2:Flat)             2         2                 2             2
                           Debt Balance
                            $     1,714,572

Garden Island Bay
Oil Sales                                           16.53                                              Oil Sales           14.50
Realized Price                                     $73.69                                              Flat Price         $65.00
Gross Revenue                                      $1,218                                              Gross Revenue        $943

Garden Island Bay
Weeks                                              1             2                3        4                5              6
Day of Week                                      Mon           Mon              Mon       Mon              Mon           Mon
Date                                           1/15/2024     1/22/2024        1/29/2024 2/5/2024         2/12/2024     2/19/2024
($M)
Beginning Cash                                     1,552         2,150           1,892     1,370             1,150          839

Cash In:
Revenue                                             1,218                                                                   943
Netting Pmt
Total Cash In                                      1,218           -               -         -                  -           943

Cash Out:
Severance Tax                                        (152)                                       -                         (118)
State Royalties                                      (207)                                       -                         (160)
Monthly Fed ONRR
Mineral/ORRI Owners                                   (61)                                       -                           (47)
Ad Valorem Tax                                                         (89)
STUSCO P&I (at 9%)                                                                (150)
LH OH Reimbursement                                                                 13
LH P&I Reimbursement                                                                 8
Douglas Draper
Jackson Walker                                                                                                                (8)
US Trustee Fees (.008%*disp for qtr)                                                   -
Chaffe Monthly Payment                                                                       (13)
Key Executive Incentive Plan (KEIP)
Key Employee Retention Plan (KERP)
Norton Rose Fulbright                                                              (25)
CRO                                                                    (40)
Rent                                                                               (23)
Marketing                                                                           (3)
Insurance                                                                         (146)
E.A.G. OneSource (BPO Acct Provider)                                   (33)
Evergreen                                                                          (63)                         (63)
Lease Operating Expense                              (200)                         (58)     (200)              (200)
Capital Project AFE (Contingency)
Buy Back Gas (Chevron)                                                 (70)                                                  (70)
Semimonthly Payroll (Salary)                                                       (68)                         (40)
Biweekly Payroll (Hourly)                                              (26)                      (7)                          (7)
Fidelity 401k                                                                        (8)                         (8)
Total Cash Out                                      (620)         (258)           (522)    (220)              (311)        (410)

Net Cash Flow / Ending Cash Balance                2,150         1,892           1,370     1,150               839        1,372
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Trimont (NOW)
Cash Collateral Forecast
As of 1/15/24
                       As of 1/15/24
                       Debt Balance
                         $ 1,714,572

East Bay
                        Oil Sales           25.54                                       Oil Sales           25.54
                        Hedge Price        $70.98                                       Hedge Price        $70.06
                        Gross Revenue      $1,813                                       Gross Revenue      $1,789

East Bay
Weeks                                       1            2            3        4             5              6
Day of Week                                Mon         Mon          Mon       Mon           Mon           Mon
Date                                    1/15/2024    1/22/2024    1/29/2024 2/5/2024      2/12/2024     2/19/2024
($M)
Beginning Cash                             4,439        5,607        4,870     4,192          3,657        3,481

Cash In:
Revenue                                     1,813                                                           1,937
Netting Pmt
Total Cash In                              1,813          -            -         -               -         1,937

Cash Out:
Severance Tax                                (227)                                                           (242)
State Royalties                              (308)                                                           (329)
Monthly Fed ONRR                              (10)                                                             (4)
Mineral/ORRI Owners                          (100)                                                           (107)
Ad Valorem Tax                                             (89)
STUSCO P&I (at 9%)                                                    (150)
LH OH Reimbursement                                                     13
LH P&I Reimbursement                                                     8
Douglas Draper
Jackson Walker                                                          (8)
US Trustee Fees (.008*disp for qtr)                                    (13)
Chaffe Monthly Payment                                                           (13)
Key Executive Incentive Plan (KEIP)
Key Employee Retention Plan (KERP)
Norton Rose Fulbright                                                  (25)
CRO                                                        (50)
Freestone JIB                                                         (220)
Rent                                                                   (23)
Marketing                                                               (3)
Insurance                                                             (181)
E.A.G. OneSource (BPO Acct Provider)                       (33)
RLI
Quarterly ONRR Inspection Fee                                          -
Lease Operating Expense                                   (500)                 (500)                        (800)
Capital Project AFE (Contingency)                                                               (139)
Buy Back Gas (Chevron)                                     (25)                                               (25)
Semimonthly Payroll (Salary)                                           (68)                      (30)
Biweekly Payroll (Hourly)                                  (41)                  (22)                         (22)
Fidelity 401k                                                            (8)                      (8)
Total Cash Out                              (644)        (738)        (678)    (535)           (176)      (1,529)

Net Cash Flow / Ending Cash Balance        5,607        4,870        4,192     3,657          3,481        3,889
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                                      EXHIBIT     B
Potential LOWLA LienHolders
Aaron Oil Company, Inc.
Acme Truck Line Inc,
B.A.I. Napa Llc
Corkern Crewboat Services, Inc.
EBI Liftboats Llc
Fast Trac Transportation, Llc
G&J Land And Marine Food Distributors, Inc
H&H Well Service, Inc.
Hlp Engineering Inc
Industrial Welding Supply Co. Of Harvey, Inc.
Island Operating Company, Inc.
John W. Stone Oil Distributors, Llc
Morris P. Hebert, Inc.
O'Brien'S Response Managment, L.L.C.
Operations & Maintenance
Premier Industries, Llc
Pressure & Flow Control Solutions Llc
Quality Process Services, Llc
Sempcheck Services Inc Solutions Llc
United Control Services Llc
United Production & Construction Services, Llc
Usa Compression Partners Lp
Whitco Supply, Llc
